         Case 1:17-cv-07742-JPO Document 26 Filed 01/15/18 Page 1 of 2




 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

 SAUL HOROWITZ, as Sellers’
 Representative,

                               Plaintiff,             No. 17 CV 7742 (JPO)

                                                      NOTICE OF MOTION

                       v.

 NATIONAL GAS & ELECTRIC, LLC and
 SPARK ENERGY, INC.,

                               Defendants.


       PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law in Support

of Defendants’ Motion to Dismiss the Complaint, and upon all prior papers and proceedings in

this action, Defendants National Gas & Electric, LLC, and Spark Energy, Inc., will move this

Court, before the Honorable J. Paul Oetken, United States District Judge, at the Daniel Patrick

Moynihan United States Courthouse, 500 Pearl Street, New York, New York 10007, on a date

and time to be set by the Court, for: (a) an order pursuant to Federal Rule of Civil Procedure

12(b)(6) dismissing with prejudice Counts I and IV of the Amended Complaint, and any claim

for punitive or consequential damages; and (b) for such other relief as this Court may deem just

or proper.
         Case 1:17-cv-07742-JPO Document 26 Filed 01/15/18 Page 2 of 2




Dated:   January 15, 2018               MORGAN, LEWIS & BOCKIUS LLP
         New York, New York
                                        /s/ Kenneth Schacter
                                        Kenneth I. Schacter
                                        101 Park Avenue
                                        New York, NY 10178
                                        (212) 309-6000
                                        kenneth.schacter@morganlewis.com

                                        Troy S. Brown (pro hac vice)
                                        1701 Market Street
                                        Philadelphia, PA 19103
                                        (215) 963-5000
                                        troy.brown@morganlewis.com

                                        Michelle Pector (pro hac vice)
                                        1000 Louisiana St., Suite 4000
                                        Houston, TX 77002
                                        (713) 890-5000
                                        michelle.pector@morganlewis.com

                                        Attorneys for Defendants National Gas &
                                        Electric, LLC and Spark Energy, Inc.
